IN THE UNITED STATES DISTRICT COURT
l\/[IDDLE DISTRICT OF TENNESSEE

 

NASHVILLE DIVISION
PHILLIP NORTH and DALE NORTH )
)
Plaintiffs, )
)
v. )
)
UNITED STATES OF AMERICA, ) No.
)
Defendant. )
)
)
COMPLAINT

Plaintiffs, for their complaint against the Defendant, respectfully state as folloWs:

NATURE OF THB CASE

 

1. Plaintiffs bring this action seeking just compensation from the United States of
America for injuries, losses and damages to Plaintiffs’ real and personal property and suffered as
a result of the negligence and gross negligence of the United States government and its agencies
prior to and during the ll\/lay 2010 storm event in the Cumberland River Basin. Tragically, there
Were twenty-six fatalities and an estimate of over $2 billion in property damages in the Nashville
and surrounding areas related to the May 2010 storm event.

2. But for Defendant’s negligence and gross negligence in the operations of its dams
prior to the flooding that occurred beginning on May 2, 2010, the May 2010 storm event Would
have been an endurable, natural event Within the 100-year flood plain along the Nashville Reach
of the Cumberland River. Det`endant’s negligence and gross negligence created a man-made

disaster, causing the Cumberland River to rise Well above the 100-year flood plain and

1 ORIGINAL

Case 3:12-cV-01057 Document 1 Filed 10/15/12 Page 1 of 49 Page|D #: 1

devastating much of Plajntiffs’ real and personal property located along the Nashville Reach of
the Cnmberland River. Plaintift`s seek just compensation for their losses.

3. Defendant operates federal dam projects located on the Cumberland River
upstream from Nashville. The 01d l-lickory Dam and Reservoir is a hydroelectric power and
navigation project, not a flood-control project Defendant negligently operated Old Hickory
Dam prior to and during the May 2010 storm event, failed to create storage capacity in the Old
l-lickory Reservoir in advance of predicted rainfall and negligently allowed too much headwater
to build up behind the dam on Saturday, May l before the storm event had caused any flooding
along the Cumberland River. As a result of that negligence, Defendant released on May 2
through l\/lay 5 massive amounts of water into the Nashville Reach, causing the Cumberland
River to surge and causing waters that otherwise would have been contained within the 100-year
flood plain and flood way to rise and create a man-made flood above the 100-year flood plain
Defendant then negligently failed to warn of the danger ereated.

4. The negligent and wrongful acts and omissions of Defendant involve, but are not
limited to, the implementation execution, operation, management, maintenance, procedures,
supervision, control, scientific and engineering assessments and related activities of Defendant,
and breaches of the various duties of care owed with respect-to the Defendant’s mismanagement
of Water through the Nashville Reach of the Cumberland River that extends from Old Hickory
Dam to Cheatham Dam.

5. The negligent and wrongful acts and omissions of Defendant further involve, but
are not limited to, the implementation, execution, operation, management, procedures, reporting,

supervision, control, scientific and engineering assessments and exchange of scientific data, and

2
Case 3:12-cV-01057 Document 1 Filed 10/15/12 Page 2 of 49 Page|D #: 2

related activities and breaches of the various duties of care owed by Defendant with respect to
Defendant’ s preparation and dissemination of information to the Pla'mtiffs.

6. The negligence and gross negligence of ‘Defendant directly and proximately
caused catastrophic destruction, damages, losses and other substantial harm to the real and
personal property of Plaintiffs, which Plaintiffs would not otherwise have suffered as a result of
the May 2010 storm event

THE PARTIES
Plaintiffs

7. Plaintiff Phillip North is a Davidson County, Tennessee resident currently
residing at 109 Menees Lane, Madison, Tennessee 37115. Phillip Nort_h is the owner of the
property at 109 Menees Lane, Madison, Tennessee 37115 which is located on the Cumberland
River and suffered devastating damages during the May 2010 storm event. Plaintift` sustained
damages to his properties as a result of the May 2010 storm event.

8. Plaintiff Dale North is a Davidson County, Tennessee resident currently residing
at 109 Menees Lane, Madison, Tennessee 37115. Dale North is the owner of the property at 109
Menees Lane,_ Madison, Tennessee 37115 which is located on the Cumberland River and
suEered devastating damages during the May 2010 storm event. Plaintiff sustained damages to
her properties as a result of the May 2010 storm event

Defendant

9. Defendant United States of 'America is a Sovereign government subject to suit for
civil liability in accordance with the Federal Tort Claims Act (“FTCA”), 28 U.S.C. §2671, et
seq., and/or admiralty and maritime laws, and/or the Constitution and Laws of the United States

as alleged`herein. Defendant is a proper defendant in this lawsuit for damages arising from the

3
Case 3:12-cV-01057 Document 1 Filed 10/15/12 Page 3 of 49 Page|D #: 3

alleged negligent or wrongful actions or omissions of the United States Govemment and its
agencies, the United States Corps of Engineers (“Corps”) and the National Weather Service }
(“NWS”).

10. The Corps is a division of the United States Govemment under the direct
jurisdiction of the United States Department of the Army.

ll. The NWS is a federal agency that is part of the National Oceanic and
Atmospheric Administration, which is part of the United States Department of Commerce.

JURISDICTION AND VENUE

12. This Court has subject matter jurisdiction under 28 U.S.C. § 1331 (federal
question) and 28 U.S.C. § 1346(b), as a lawsuit brought against the United States government
under the F"fCA based on the wrongful actions and omissions of employees of the United States
and its agencies, including the Corps and the NWS, while those employees were acting within
the scope of their office or employment

13. Plaintiffs previously presented the Corps and the NWS with written
administrative claims as required by the FTCA, 28 U.S.C. § 2671, er seq. Copies of Plaintif_fs’
FTCA Claims are attached hereto as Collective Exhibit A.

14. Plaintiffs have not yet received a determination of their Claims filed with the
Corps and the NWS under the FTCA.

15. Plaintiffs have complied with the provisions of the FTCA and bring this action
within the applicable time period, six months having elapsed since the filing of each Plaintiff’s
administrative claims.

16. Venue is proper in this district pursuant to 28 U.S.C. §§ 1391 and 1402(b)

because Defendant is the United States government, PlaintiHs reside in the Middle District of

4
Case 3:12-cV-01057 Document 1 Filed 10/15/12 Page 4 of 49 Page|D #: 4

Tennessee, Defendant’s negligent and wrongful actions or omissions occurred in whole or in part
in the Middle District of Tennessee, and the damages suffered by Plaintiffs occurred within the
Middle District of Tennessee.

WAIVER OF SOVEREIGN IMMUNITY

17. The sovereign immunity of Defendant is waived in connection with claims
asserted against them in this suit by the enactment of the FTCA.

THE FACTS
The Cumberland River Basin

18. The Cumberland River is a crescent-shaped navigable waterway and tributary of
the Ohio River that lies within the states of Kentucky and Tennessee. The Cumberland River
generally flows east to west.

19. The Cumberland River flows through the city of Nashville, Tennessee, among
other communities, and the portion that flows through Nashville is referred to herein as the
“Nashville Reach.”

20. Geographically, the city of Nashville sits within the Central Basin and is encircled
by a geological formation called the Highland Rim, which rises east of Old I-lickory Dam and
west of Cheatham Dam.

21. The Central Basin is a depression or bowl in the topography of Middle Tennessee,
the rim of Which is the l-lighland Rim. The Central Basin forms a watershed, or drainage area,
that directs runoff to the center of the Central Basin and into the Nashville Reach of the
Cumberland River.

22. More than one (l) million people live within the Central Basin area of the

Cumberland River.

5
Case 3:12-cV-01057 Document 1 Filed 10/15/12 Page 5 of 49 Page|D #: 5

The Federal Dam Projects on the Cumberland River
23. Congress authorized and funded ten (10) federal dam projects to be located on the
Cumberland River Basin System. The Corps implemented the congressional directives by
designing, constructing and operating the dam projects for the purposes specified in the
authorizing legislation and project plans.
24. Five (5) of the dam projects are located on the main stem of the Cumberland

River and five (5) are located on its tributaries

Cumberland River Basiu
Reservoir System
Wo¥f Creeell.

       
   
 

 

  

lomar-mess

.'i mississiqu ;
t t induction ,_ _ ii _ .

 

 

 

   

 

 

Bliii.DlNG i`s`l'l'\'i.'.il'¢ll.§l

25. All hve (5) main stem projects on the Cumberland River are congressionally
authorized for power generation These dam projects are designed and engineered by the Corps

to impound and control or manipulate the natural flow of the waters of the Cumberland River.

6
Case 3:12-cV-01057 Document 1 Filed 10/15/12 Page 6 of 49 Page|D #: 6

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Projc~c\ \E|D”‘l _Ri`k Cllm_mn'rial H}'rlro|)o\\'rr Recrenlinn “ nw rim dr

. nungvmem .\.n walton Q\inll¢} \\ildllle
ilaiustrm Projcr|s y
l\`olf fra-k Dam 31 §§ .\` \ X
(`m'dr!l Hnl| l ark .\`c him .\I X li \ X
0|11 Hirkcn' Lr.\rk & Dam X X .‘i \ X
C`|ie:nli:\m Lork & Dam X .\ X \ .‘{
Brrklr}' lock & D:m\ X X .7( ?\` \ X

Trll)mar}' Projerts

.\l:ertiu's fork IJn m X X ft X
l_aul'rl Dam 7 X ."i X .‘(
lla|e Holiu\\' Dam .“l X I\` X .\;
('rnter Hill Dam § .\ - § .\` .\
J. Pel'€}' Pl'iest Dam x \ X \ \

 

 

 

 

 

 

 

 

26. Old Hickory Lock and Dam is one of the mainstem projects on the Cumberland
River authorized by Congress in the River and Harbor Act of 1946, Pub. L. No. 79-525. Old
Hicl<;ory Dam sits at the eastern end of the Nashville Reach, approximately 24 river miles
upstream from Nashville.

27. 01d Hickory Dam was congressionally authorized for hydropower and
navigation lt was not authorized as a flood-control project and serves no congressionally
authorized flood-control purpose.

28. The Corps operates Old l-Iickory Dam and controls the flow of water through the
Dam project and into the Nashville Reach. The Corps manipulates the water level and rate of
flow (as measured by cubic feet per second or"‘cfs”) through the Old l-licl<;ory Dam generally on
an hour-by-hour basis. Old l-Iiclcory Dam alters what otherwise would have been the natural

flow of the Cumberland River through Nashville.

7
Case 3:12-cV-01057 Document 1 Filed 10/15/12 Page 7 of 49 Page|D #: 7

29. Cheatham Dam is another federal dam project located on the mainstem of the
Cumberland River and sits at the western end of the Nashville Reach. The Nashville Reach is, in
effect, a man-made lake between Old Hickory Dam and Cheatham Dam, created by the
impoundment of those two federal projects

30. Cheatham Dam was congressionally authorized for hydropower and navigation
lt was not authorized as a flood-control project and serves no congressionally authorized flood-
control purpose.

31. In designing, constructing and operating the Cumberland River Basin projects,
including Old Hickory Dam, the Corps developed and used basic flood estimates, one of which
is called the “standard project flood.”

32. The “standard project flood ‘fcan be defined as the largest flood that can be
expected from the most severe combination of meteorological and hydrological conditions
considered to be characteristic of a geographical region.

33. The “standard project flood” is based on the “standard project storm.” The
“standard project flood” can be defined as a hydrograph representing run-off from the standard
project storm.

34. The “standard project storm” is defined as the “estimate for a particular drainage
area and season of the year in which snow-melt is not a major consideration and should represent
the most severe flood-producing rainfall depth-area_duration relationship and isohyetal pattern
of any storm that is considered reasonably characteristic of the region in which the drainage
basin is located.” The term “storm” is used in a broad sense to mean any period or sequence of
rainfall events that may contribute to critical flood events in the particular drainage basin

35. A “standard project storrn” is a foreseeable storm event.

_ 8
Case 3:12-cV-01057 Document 1 Filed 10/15/12 Page 8 of 49 Page|D #: 8

36. On information and belief, Old Hickory Dam is classified as a “high hazard darn,”

meaning that the failure or miss-operation of the project probably will cause loss of human life.
The Corps Management and Operations of the Dam Projects

37. The Corps’ management and operation of the federal projects on the Cumberland
River are governed by projects’ authorizing legislation, federal statutes and regulations, and
Corps’ water control plans and manuals and reservoir instructions for projects mandated by and
developed pursuant to 33 C.F.R. § 222.5 (the “Regulations”).

38. The Regulations require the Corps to develop water control plans, water control
manuals and instructions for reservoir regulation for reservoirs, locks, dams, reregulation and
maj or control structures and interrelated systems to conform with objectives and specific
provisions of authorizing legislation and applicable Corps reports 33 C.F.R. § 222.5®(1).
“Through analysis and testing studies will be made as necessary to establish the optimum water
control plans within prevailing constraints.” Id.

39. The Corps has developed a master water control plan, water control manuals and
instructions for reservoir regulation for projects on the Cumberland River Basin. The documents
specifically govern the Corps’ operation of the proj ects, including instructions on how to utilize
the storage capacity at project reservoirs

40. The Regulations require that the Corps establish adequate provisions “for the
collection, analysis and dissemination of basis data, the formulation of specific project regulation
directives, and the performance of project regulation . .at field leve ” 33 C.F.R. § 222.5(f)(5).

41 . The Regulations require the Corps to make appropriate provisions “for monitoring
project operations, formulating advisories to higher authorities, and disseminating information to

others concerned These actions are required to facilitate proper regulation of systems and to

9
Case 3:12-cV-01057 Document 1 Filed 10/15/12 Page 9 of 49 Page|D #: 9

keep the public fully informed regarding all pertinent water control matters.” 33 C.F.R. §
222.5(©(6).

42. The Regulations require the Corps to develop “reservoir regulation schedules to
assure that controlled releases minimize project impacts and do not jeopardize the safety of l
persons engaged in activities downstream of the facility. Water control plans will include
provisions for issuing adequate warnings or otherwise alerting all affected interests to possible
hazards from project regulation activities.” 33 C.F.R. § 222.5(f)(7).

43. The Regulations- require that the water plans and manuals “will be revises as
necessary to confomi with changing requirements resulting from developments in the project
area and downstream, improvements in technology, new legislation and other relevant factors”
33 C.F.R. §222.5(f)(3).

44. The Regulations require the Corps to include in each water control manual “a
section on special regulations to be conducted during emergency situations, including droughts.
Preplanned operations and coordination are essential to effective relief or assistance.” 33 C.F.R.
§ 222.5(i)(5).

45. ln developing water control plans and instruction manuals, and in making
decisions regarding the operations of dam projects, Defendant relies on computer runs of stream-
flow synthesis and reservoir regulation that simulate both natural and man-made effects as the
primary source of data on which to base the scheduling and control of project operations

46. For each project on the Cumberland River, the Corps’ manuals and instructions
define three horizontal zones or pools in the lake reservoir created behind the dam. Prom the
bottom of the lake to the top, the zones are (1) the inactive pool, (2) the power pool, and (3) the

surcharge pocl.

10
Case 3:12-cv-01057 Document 1 Filed 10/15/12 Page 10 of 49 Page|D #: 10

47 . The inactive pool, or bottom storage zone, offsets lake sedimentation and
provides head for hydropower lt also provides depth for slack water navigation, recreation,
water intake, habitat for fish and wildlife, and insurance for drought periods.

48. The power pool, or'middle storage zone, is the storage capacity of the reservoir
used for daily hydropower generation at the project, which is sold to the Tennessee Valley
Authority. lt is the level of the reservoir during periods of “Normal Regulation,” as provided in
the Corps’ water control manuals and instructions for reservoir regulation

49. The surcharge pool, or uppermost zonc, is the storage capacity of the reservoir
that is used to mitigate the effects of the reservoir on downstream river crests. lt is intended to
store the quantity of water that under natural conditions would have been stored in the former
river valley, but which natural storage was lost due to the impoundment from the proj ect. The
surcharge pool is used during periods of “Flood Regulation,” pursuant to the Corps’ water
control manuals and instructions for reservoir regulation

Old Hickory Dam

50. The power pool at Old Hickory Reservoir extends from the elevation of 442 to
445 feet above sea level. There are 63,000 acre feet of storage capacity in the power pool at Old
Hickory Reservoir between the elevations of 442 and 445 feet. To enhance recreation, the power
pool is maintained in the upper one foot of the power pool, or between the elevations of 444 and
445 feet.

51. The surcharge pool at Old Hickory Reservoir extends from the elevation of 445 to
450 feet above sea level. There are 125 ,000 acre feet of storage capacity in the surcharge pool at

Old Hickoi'y Reservoir between the elevations of 445 and 450 feet The surcharge pool is

1 11
Case 3:12-cv-01057 Document 1 Filed 10/15/12 Page 11 of 49 Page|D #: 11

designed to mitigate the natural valley storage area along the Cumberland River lost due to the
impoundment from Old Hickory Darn.

52. The Corps’ “Old I-lickory Dam lnstructions for Reservoir Regulation” denno
three types of regulation of the reservoir: Nonnal Regulation, Flood Regulation, and Drought
Regulation.

d 5 3. During periods of “Norrnal Regulation” at Old Hickory Reservoir, the water level
elevation of the reservoir is maintained within the power pool, or between 442 and 445 feet
above sea level. The power pool is used to generate hydropower, provide for navigation and
enhance recreation

54. During periods of “Flood Regulation” at Old Hickory Reservoir, pre-flood
drawdown to elevation 442 (the power pool level) is permitted upon direction from the USACE’ s
Water Management. Pre-tlood dradewn to 442 feet creates 188,000 acre feet of storage
capacity in Old Hickory Reservoir.

n 55. All other operating objectives of the Cumberland River projects, including
hydropower, become secondary considerations during periods of “Flood Regulation.”

56. The “Flood Regulation” instructions for Old Hickory Reservoir further provide
that surcharge pool storage should not be used until “just prior to the peak of the flood to
maximize reduction of the peak outtlow of the project...-.lf the flood surcharge storage is used
too soon, there could be no storage space remaining when the peak arrives.” “Thus, the
surcharge storage and any additional storage that can be gained by pre-flood dradewn should
be preserved until it is clearly evident that the storm has passed.”

57 . Accordingly, to utilize the additional storage capacity of Old Hickory Reservoir

within the power pool and prevent excessive and potentially damaging discharge, it is necessary

12 1
Case 3:12-cv-01057 Document 1 Filed 10/15/12 Page 12 of 49 Page|D #: 12

for the Corps to release water through Old Hickory Dam into the Nashville Reach in advance of
predicted heavy rainfall. To preserve that storage capacity, it is necessary for the Corps to
discharge from Old Hickory Dam at least as much water as is flowing into Old Hickory until just
prior to the peak of the tlood. Defendant knew that the peak of the flood occurs after the rain
stops as it takes time for the runoff to drain from the Central Basin into the Cumberle River.

5 8. The water control manuals and instructions for Old-Hickory Dam and Reservoir
provide the following safety mandate: “Maintaining the integrity of the structure under all
conditions of stream-tlow, and assuring the safety of the general public both at the project and in
the river system below the project takes precedence over all functional requirements The
project design and this water control plan are intended to result in safe conditions for all
anticipated circumstances lf however, conditions arise where adherence to this plan would
jeopardize structural integrity or the general public, safety conditions should prevai .”

59. Corps engineering regulations require the creation of an Emergency Action Plan
(“EAP”) for every Corps operated darn.

60. As described in the engineering regulation, an EAP “is a formal document that
identifies potential emergency conditions (either dam failure or large spillway releases) at a dam
and specifies preplanned actions to be followed in order to minimize property damage and loss
of life.”

6l. On information and belief, the Corps has an EAP for Old Hickory Dam.

The National Weather Service

62. The NWS develops and publishes NWS products and services, including weather

forecasts and warnings and hydrologic forecasts and warnings, including river tlows, river stage

predictions, and observed river stage levels.

13
Case 3:12-cv-01057 Documént 1 Filed 10/15/12 Page 13 of 49 Page|D #: 13

63. The NWS l-lydrometeorological Prediction Center (“HPC”) provides products and
services, including forecast guidance and analysis to support the daily public forecasting
activities of the NWS. Through the l-IPC, the NWS publishes quantitative precipitation forecasts
twice each day in the early morning and late afternoon or evening

64. The NWS has thirteen (13) River Forecast Centers with expertise for hydrologic
forecasting. The NWS River Forecast Centers evaluate and use the NWS’ quantitative
precipitation forecasts to prepare the NWS’ river stage forecasts.

65. The NWS River Forecast Centers provide river stage forecast to the NWS local

Weather Forecast Offices._ The NWS’ local Weather Forecast Ofiices disseminate the river stage
forecast to other government agencies and the public. NWS forecasters use the river stage
forecasts to issue weather advisories, flood watches, and flood warnings for locations within
their areas of responsibility

Interagency Relationship of the Corps and the National Weather Service

66. The respective duties of the Corps and the NWS are interrelated and
complementary, requiring the collection, coordination and exchange of scientitic, hydrological
and meteorological information and data.

67. ln carrying out water control activities, the Regulations require the Corps to
“recognize and observe the legal responsibilities of the National Weather Service (NWS) and the
National Oceanic Atmospheric Administration (NOAA) for issuing weather forecasts and flood
warnings, including river discharges and stages. River forecasts prepared by the Corps of
Engineers in the execution of its responsibilities should not be released to the public, unless the
NWS is willing to make the release or agrees to such dissemination However, release to

interested parties of factual information on current storms or river conditions and properly

14
Case 3:12-cv-01057 Document 1 Filed 10/15/12 Page 14 of 49 Page|D #: 14

quoted NWS forecast is permissible District offices are encouraged to provide assistance to
communities and individuals regarding the impact of forecasted floods.” 33 C.F.R. § 222.5(®(8).
68. hi recognition of the interrelatedness of the missions and duties of the Corps and
the NWS and the need to coordinate and cooperate with each other in the collection and analyses
of meteorological and hydrological data and information, the Corps and the NWS entered into a
Memorandurn of Agreement in 1991. A copy of the 1991 Memorandum of Agreement is

attached hereto as Collective Exhibit B.

69. The 1991 Agreement requires Corps and NWS to exchange meteorological and

hydrological data.

70. The 1991 Agreement requires both the Corps and NWS to make river flow
forecasts: “the NWS for dissemination of forecasts to the public and to their Federal, State and
local cooperators; and the [Corps] for the management of reservoirs, locks and dams and other
water control facilities Information and ‘real-time data’ exchange is to occur regionally between
the Corps’ districts and divisions and the NWS River Forecast Center/Weather Forecast Offices,
usually through their respective computer systems.”

71. Both the NWS and the Corps generate river stage forecasts utilizing computer
programs that calculate how rainfall inundates the topography of the Cumberland River Basin.

72. The Corps produces daily reports detailing the latest observed and 5-day
forecasted releases (outflows) for each dam project it operates on the Cumberland River. The
Corps electronically transmits that information and data each day to the NWS.

73. ln April and May 2010, the Corps’ daily reports of projected releases from each

dam project were based on observed, or actual, rainfall that occurred during the last 24-hour

15
Case 3:12-cv-01057 Document 1 Filed 10/15/12 Page 15 of 49 Page|D #: 15

period, or “rain on groun ,” as of 6:00 am. each day. The Corps’ daily reports of projected
releases did not account for forecasted precipitation for the same day.

74. The NWS uses the daily reports received from the Corps to forecast stream flow
and river stages for the Cumberland River.

75. Prior to and at the time of the May 2010 storm event, NWS did not know that the
Corps’ daily report was limited to observed or actual rainfall that had occurred during the past
24-hour period, or “rain on the ground,” and that the reports did not include or account for the
expected run-off of rain waters from the forecasted precipitation during the next 24-hour period.

76. During major storm events, an intensive interagency effort between the NWS and
the Corps is necessary to forecast river stage levels and respond to catastrophic conditions and
impacts

77. During periods of flooding on the Cumberland River system, the Corps Nashville
District Water Management is required to “maintain close contact” with the Corps Ohio River
Division Water Management, the NWS Ohio River Forecast Center, and the NWS Service
Hydrologists to “keep all informed as to flood control strategy.”

The Role of the United States Geological Survey

78. The United States Geological Survey (“USGS”) is a federal agency within the
Department of lnterior that is responsible for providing reliable scientific data and research The
USGS collects and disseminates hydrological data and information, among other activities, and
is a resource for other government agencies Such hydrological data and information nom the
USGS is critical to the hydrological forecasts of the NWS (for dissemination of official reports)

and Corps (for the management of the Corps reservoirs).

16
Case 3:12-cv-01057 Document 1 Filed 10/15/12 Page 16 of 49 Page|D #: 16

79. During times of flooding, the Water Science Centers of the USGS maintain a
comprehensive network of stream and precipitation gages. The USGS has the ability to collect
real-time data and gage information

80. ln 1940, the Corps and the USGS established a Cooperative Gaging Program to
provide for effective funding, operation and maintenance of gages vital to the Corps’ reservoirs
and water control management

81. The Corps Nashville District withdrew h‘om the Cooperative Gaging Program
with the USGS approximately five (5) years ago and ended its direct working relationship with
the USGS. The Corps contracted with a third party for gage maintenance for the Cumberland
River Basin in 2005, which contract expired on April 30, 2010.

82. During the May 2010 storm event, Defendant never contacted the USGS to obtain
real-time data and gage information

The May 2010 Storm Event

83. The Cumberland River Basin experienced heavy rainfall on Saturday, May 1 and
Sunday May 2, 2010 with successive rounds of intense rain storm activity.

84. The weather system that brought heavy rainfall to the Cumberland River Basin
was predicted for days in advance of the rain that fell on Saturday, May 1 and Sunday, May 2,
2010.

85. The “stage”'level of the Cumberland River in Nashville is the elevation of the
Nashville Reach. lt rises as more water is discharged through Old Hickory Dam.

86. “Major flood stage” for Nashville is established at 45 feet (or approximately 413

feet above sea level at Nashvi]le and almost 3 feet below the 100-year flood plain) `

17
Case 3:12-cv-01057 Document 1 Filed 10/15/12 Page 17 of 49 Page|D #: 17

Anril 24, 2010 - Storms before the May 2010 Storm Event

87. Almost one week prior to the May 2010 storm event, a different weather system
moved through the Cumberland River Basin on April 24, 2010 and brought widespread rainfall
amounts of l to 3 inches. As a result of` the discharge of water from the April 24, 2010 rains
through the Old Hickory Darn, the river stage level at the downtown Nashville gage of the
Cumberland River rose 1.7 feet

88. The April 24, 2010 rains saturated the ground in the Central Basin of the
Cumberland River, increasing soil moisture and stream flows and thereby increasing the
likelihood that a subsequent rainfall in the same area would result in significant runoff of rain
waters into the mainstream of the Cumberland River.

89. Prior to the May 2010 storm event, the Corps neglected to maintain the spillway
gates at Old Hickory in good repair and operating condition. One spillway gate was out of
service due to scheduled maintenance, during one of the rainiest months of the year, and one
turbine was unavailable due to an unscheduled outage, which prevented their usage during the
May 2010 storm event
Apri127-30, 2010 - The Developing Storm Svstem

90. On Tuesday, April 27, 2010, the Corps and the NWS noted that there was a
signincant rainfall event predicted to begin in the Cumberland River Basin on Friday, April 30
2010.

91. A powerful storm system had moved ashore from the Pacific Northwest and
maintained its strength as it continued moving across the Rocky Mountains on Wednesday, April

28 and Thursday, April 29, 2010. The same storm system continued moving into the central

18
Case 3:12-cv-01057 Document 1 Filed 10/15/12 Page 18 of 49 Page|D #: 18

United States on Friday, April 30, 2010. Defendant tracked the development and progress of the
storm system as it headed toward Middle Tennessee.

92. On Wednesday, April 28, 2010, the Corps noted the magnitude of the storm
system that was headed toward the Cumberland River Basin and began monitoring the storm.
The NWS issued a 5-day quantitative precipitation forecast showing a storm system with rainfall
of up to 6.2 inches.

93. On Thursday, April 29, 2010, the NWS issued an updated 5-day quantitative
precipitation forecast showing a storm system with rainfall up to 6.6 inches and was forecasting
“two to three distinct rounds of showers and thunderstorms” over the weekend for the
Cumberland River Basin

94. The Corps lowered the pool elevation of Old l-lickory Reservoir by only
approximately 0.5 feet on Thursday, April 29, 2010.

95. By Thursday, April 29, 2010, the Corps noted that the “axis of heaviest rainfall at
this time is expected from Northem Mississippi through Tennessee into south central Kentucky,”
stretching across the Central Basin.

96. The Corps’ Ohio River Division issued a “Flood Potential Update,” via electronic
mail, that a significant weather event was forecasted. However, the electronic mail message
transmitting this Flood Potential Update was not read by other Corps personnel The Corps
failed to implement a mechanism at the Corps Ohio River Division to activate the staff into
emergency mode.

97. On Thursday, April 29, 2010, despite the anticipated and successive rounds of
heavy rainfall predicted for Saturday, May l and Sunday, May 2, 2010, with a forecast of up to

6.6 inches of rainfall, the Corps continued to operate its “business as usual.” The Corps

19
Case 3:12-cv-01057 Document 1 Filed 10/15/12 Page 19 of 49 Page|D #: 19

continued to implement “Normal Regulations,” continued to generate hydropower, and
continued to maintain the power pool for navigation and to enhance recreation

98. By Friday, April 30, 2010, the Corps and the NWS knew that a relatively rare
convergence of conditions that was favorable for prolonged intense rainfall in Tennessee was
developing As of April 30, 2010: (i) there was an unseasonably strong late-spring storm system
that had been tracking across the United States from west to east as it headed toward Middle
Tennessee, (ii) there was a stationary upper air pattern that would concentrate the storm in a
relatively defined geographic area, (iii) there was a persistent tropical moisture feed drawing
water northward into the storm system from the Gulf of Mexico, and (iv) there were impulses
moving through the jet stream consistent with a strong storm system.

99. The four factors described above combined to generate a prolonged rainfall event
in the Cumberland River Basin, with the most intense storm activity occurring on Saturday, May
l and Sunday, May 2, 2010.

100. By the morning of Friday, April 30, 2010, Defendant knew that there was a
significant risk that there would be heavy rainfall in the Central Basin watershed areas of the
Cumberland River Basin and its management of Old l-lickory Reservoir in advance of a massive
storm system could either minimize the impact of the incoming rainfall or exacerbate the impact
and cause excessive flooding

101. On Friday, April 30, 2010, the NWS issued a quantitative precipitation forecast
showing increased predicted rainfall totals of up to 7 inches with a high rainfall amount of 7.8

inches in Middle Ten_nessee.

20
Case 3:12-cv-01057 Document 1 Filed 10/15/12 Page 20 of 49 Page|D #: 20

102. The Corps did not lower Old l-Iickory Reservoir in response to Friday’ s forecasted
rainfall.

103. Despite the increased forecast, Defendant maintained Old Hickory Reservoir in a
“business as usual” manner, holding the water level as approximately 444.5 feet, a mere six
inches from the top of the power pool in the optimal range for hydropower, navigation and
recreation

104. By Friday, April 30, 2010, the Corps and NWS knew that successive rounds of
heavy rains falling in the Central Basin would result in heavy storm runoff into the mainstem of
the Cumberland River.

105. Despite Defendant’s knowledge of the forecasted rainfall, the Corps did not
implement “Flood Regnlation” lnstructions or release water through the spillway gates of Old
Hickory Dam in order to create and preserve the necessary storage volume prior to the storm.
lnstead, the Corps continued to operate its “business as usual”. The Corps continued to
implement “Normal Regulation,” continued to generate hydropower, and continued to maintain

the power pool for navigation and to enhance recreation

Saturdav. May l, 2010 - Dav One of the Storm Event

106. By Saturday morning, May l, 2010, there was a stalled upper air pattern and
frontal boundary of thunderstorm activity, which concentrated the storm system over the
Cumberland River Valley.

107. At 4:35 a.m. on Saturday, May l, 2010, the NWS Hydrometeorological Prediction
Center issued a forecast for a record-breaking two-day rainfall event for Middle Tennessee.

108. On Saturday morning, May l, 2010, as heavy rain began falling, the NWS issued

a revised quantitative precipitation forecast increasing the rainfall totals up to 8 to 8.6 inches in

21
Case 3:12-cv-01057 Document 1 Filed 10/15/12 Page 21 of 49 Page|D #: 21

Middles Tennessee. The rainfall forecasted that this single storm event was already nearly twice
the average monthly rainfall amount for the entire month of April.

109. The Corps did not lower Old Hickory Reservoir in response to Saturday’s
forecasted rainfall

110. Rains of more than 8 inches in a 24 to 423-hour period are as rare, a one in 200-
year event Defendant, however, never lowered Old Hiclcory Reservoir to create more storage
capacity after April 29, 2010. Instead, the reservoir steadily rose through the day on Saturday,
May l, 2010, rising through the top of the power pool and into the surcharge pool, well before
the second day of the record-breaking two-day storm event. l

lll. The first round of intense thunderstorrns on Saturday, May 1, 2010, produced five
to eight inches of rain across central and eastern Tennessee, including the Central Basin of the
Cumberland River.

112. Even as the rains fell, the Corps continued to operate Old Hicl<ory Reservoir
under Normal Regulation, continued to generate hydropower, and maintained the power pool in
the upper one foot area of the power pool, the level used to enhance recreation

113. Notwithstanding its duty to do so, the Corps did not send any daily reports of
projected releases to the NWS on either Saturday, May l, or Sunday, May 2, 2010, the two most
critical days of the storm event

ll4. Notwithstanding the fact that the Corps did not send and the NWS did not receive
daily reports from the Corps regarding observed and forecasted dam releases on Saturday, May
l, 2010, the NWS issued official river stage forecasts for the Cumberland River, including
Nashville, based on the data received the prior day. The NWS ran its river stage forecast models,

but used day-old information and data provided by the Corps that the NWS knew was not current

22
Case 3:12-cv-01057 Document 1 Filed 10/15/12 Page 22 of 49 Page|D #: 22

as the main input for the NWS forecast models. Moreover, as described above, the data provided
by the Corps on which the NWS relied, failed to include expected runoff of rain waters from the
precipitation occurring for the remainder of the day on Saturday, May l, 2010, or the expected
rainfall on Sunday, May 2, 2010. As a result, the NWS river stage forecasts for the Cumberland
River underestimated the river stage levels and forecasted only minimal rises in the Cumberland
River stage levels during the rest of the weekend The NWS forecasted river stages were
substantially below the actual or observed rises in the Cumberland River.

115. On Saturday morning, May l, 2010, the NWS Ohio River Forecast Center
initiated 24-hour staffing based on the mamiitude of the storm event. Although certain specified
staffing levels were required of NWS during the May 2010 storm event, the NWS failed to have
adequately trained staff on-site during the entire storm event

116. The Corps Nashville District did not initiate similar 24-hour staffing at that time
and did not increase its weekend day or evening staffmg. ln fact, the Corps Nashville District
was minimally staffed on Saturday, May 1 and Sunday, May 2, 2010 because those days fell
over a weekend instead of a regular work week, notwithstanding the forecast of a major storm
event

117. On Saturday morning, May l, 2010, the NWS Ohio River Forecast Center issued
its river stage forecast and sent the results of its Meteorological Model-Based Ensemble Forecast
System (M[\/IEFS) via electronic mail message to the NWS Nashville Weather Forecast Office
and the USACE Nashville District office, stating:

Please take the attached (AMJEFS) results seriously The model trends
have been consistent We are looking or significant potential for Major
Flooding. The [NWS Ohio River Forecast Center] will be stajecl 241-hrs

ji‘om now through Mondoy morning with increased weekend day and
evening siajj‘ing as well

23 '
Case 3:12-cv-01057 Document 1 Filed 10/15/12 Page 23 of 49 Page|D #: 23

llS. Notwithstanding the data and forecasted information received by the
Corps on May l, 2010, and the evident danger to people and property downstream from
Old Hickory Dam, the Corps took no action to coniirrn or deny the accuracy of this dire
forecast and did not lower the level of, and create additional storage capacity in, Old
Hickory Reservoir l

119. By mid-day on Saturday, May l, 2010, the NWS issued an “Excessive
Rainfall Potential Outlook” and expressed concern about much greater totals for the area

noting as follows:

WIDESPREAD STORM TOTAL AMTS lN EXCESS OF 8.0 INCHES
ARE LIKELY . . . SOME VERY LOCALIZED AREAS HAVE
ALREADY EXCEEDED THAT AND WOULD NOT BE SURPRISED
TO SEE STORM TOTAL AMTS APCH AND/OR EXCEEDING 12 - 15
lNCI-IES OVER SOME SPOTS.

120. On Saturday, May l, 20l0, beginning around noon, the Corps finally
began increasing discharges from Old Hickory Dam in response to the heavy rains and
runoH into the Cumberland River and rising reservoir level behind the darn. The total
releases at Old I-lickory Dam (consisting of turbine discharges plus spillway gate
releases) increased from 24,300 cfs at noon to 74,500 cfs by midnight on Saturday, May
l, 2010. These releases were still less than the storrnwater runoff entering the Old
l-lickory Reservoir. As a result, the level of Old Hickory Reservoir rose and it lost
needed storage capacity even while Defendant was predicting a second round of intense
storm activity with a significant potential for maj or flooding

121. The Corps did not notify the NWS of these increases in water discharges
from Old Hickory Dam.

122. At 1:00 p.m. on Saturday, May l, 2010, the Corps’ Nashville District

Commander declared a flood emergency

24
Case 3:12-cv-01057 Document 1 Filed 10/15/12 Page 24 of 49 Page|D #: 24

123. At 1:40 pm on Saturday, May l, 2010, the Corps’ Water Manager at the
Nashville District left the office, only forty minutes after the flood emergency was
declared and in the midst of the storm.

124. Corps’ Water Management staff came on duty at the Nashville District at
7:00 p.m. and left at 11100 p.m. Between the time the Water Manager had left at 1240
p.m. and the Water Management staff returned at 7:00 p.m., the Old l-lickory Reservoir
had risen by more than one foot. By 11:00 p.m., the Cumberland River at Nashville rose
12 feet.

125. Although it stopped raining for a period of time on Saturday afternoon
May l, 2010, runoff nom Saturday’s rains predictany continued to flow into the Old
Hickory Reservoir. The volume of inflows into the reservoir exceeded the outflow
released through Old Hickory Dam, with the result that the reservoir elevation continued
to rise throughout the day and night on Saturday, May l, 2010.

126. When the Corps finally began increasing the discharges at Old Hickory
Dam as the reservoir level rose around noon on May l, 2010, the Corps had to increase
the discharges rapidly because of its delay. The rapid increase caused the observed rises
in the level of the Cumberland River at Nashville to “far outpace” the NWS river stage
forecasts throughout the afternoon and night on Saturday, May l, 2010.

127. From Saturday night May l, 2010 until Sunday morning, May 2, 2010, the
NWS Ohio River Forecast Center attempted to contact the Corps Nashville District office
several times to obtain updated discharge information and data on the Cumberland River

projects The NWS’ calls went unanswered because the Corps Nashville district office

25
Case 3:12-cv-01057 Document 1 Filed 10/15/12 Page 25 of 49 Page|D #: 25

failed and neglected to have personnel on-site throughout the night on Saturday, May l,
2010, a critical period of time during the May 2010 storm event

128. As a result of the Corps’ negligent failure to react to the forecasted rain
event and to effectively create, preserve and use the storage capacity of Old l-Iickory
Reservoir prior to the start of the May 2010 storm event, as required by the Water
Control Manuals and lnstructions for Reservoir Regulation, the Corps did not have
sufficient storage capacity on Sunday, May 2, 2010 to accommodate the inflows into the
Old Hickory Reservoir nom the runoff from Saturday’s rainfall and the rainfall
forecasted for Sunday in the Cumberland River Basin
Sundav. May 2. 2010 - Dav Two of the Storm Event

129. On Sunday, May 2, 2010, a second round of intense thunderstorms
occurred across the same area as the first round and produced additional rainfall of up to
8 inches.

130. By 6:00 a.m. on Sunday, May 2,. 2010, and with no overnight water
management staff on duty at the Corps Nashville Distriet, the Corps allowed the Old
Hickory Reservoir to rise to 447.75 feet above sea level, using almost three feet of
storage capacity of the surcharge pool before the second round of heavy rainfall had
arrived and well before the peak of the flood that would result from rainfall runoff

draining into the Central Basin of the Cumberland River.

131. ' At 7:l5 a.m. on Sunday, May 2, 2010, as the second day of heavy rain begin to
fall; the NWS Ohio River Forecast Center contacted the Corps’ Ohio River Division to ask for

updated project release data and projections for releases at the Cumberland River projects NWS

26
Case 3:12-cv-01057 Document 1 Filed 10/15/12 Page 26 of 49 Page|D #: 26

was told by the Corps Ohio, River Division that the Nashville District staff would be in around
7:30 a.m.

132. At around 8:30 a.m. on Sunday, May 2, 2010, after the Corps staff arrived at the
Nashville District office, the Corps Ohio River Division facilitated a telephone call between the
NWS Ohio River Forecast Center and the Corps Nashville District office.

133. During that conference call, the NWS and the Corps discussed the forecasted
rainfall amounts, the current and forecasted water releases from the Cumberland River projects,
the results of Defendant’s forecast model simulations, and the divergence between two different
river stage projections for the Cumberland River.

134. One of Defendant’s river stage model simulations, using NWS computer-
generated projections of releases from the Old l-Iickory Dam rather than Corps’ daily reports of
projected releases from the Old Hickory Dam, projected a river stage of approximately 54 feet
for the Cumberland River at Nashville A river crest stage of 54 feet (about 422 feet above sea
level) for the Cumberland River at Nashville equates to a risk of extreme flooding (e.g., the 500-
year stage level is about 421 feet above sea level). A second forecast model simulation that used
Corps’ daily reports of projected releases nom the Old Hickory Dam, however, projected a river
stage of approximately 41 .9 feet (about 410 feet above sea level at Nashville).

135. The NWS and the Corps discussed these crucial discrepancies in the river stage
model simulations during the conference call, but those discrepancies were left unresolved

136. Notwithstanding Defendant’s knowledge that one of its computer forecast models
had projected a river crest of 54 feet for the Cumberland River at Nashville that would cause
devastating damage, the NWS issued an updated official river stage forecast that was released to

the public at 9:39 am. on Sunday, May 2, 2010, with a projected river crest of 41.9 feet at 7:00

v 27
Case 3:12-cv-01057 Document 1 Filed 10/15/12 Page 27 of 49 Page|D #: 27

p.m. for Nashville. The NWS river stage forecast of 41.9 feet was just below “Moderate
Flooding” of 42 feet for the Nashville gage and 3.1 feet below the Major Flooding Level of 45
feet

l37. The Defendant knew that a river crest of 54 feet for the Cumberland River at
Nashville would pose a serious threat of loss of life and the danger of inordinate property
damage. l

138. At the time the NWS issued its forecasted river crest of 41.9'feet for Nashville,
the second round of heavy rains had begun falling on Sunday morning, May 2, 2010, and the
Cumberland River at Nashville was already at 40 feet Additional heavy rains were predicted
during the day on Sunday.

139. At 10:00 a.m. on Sunday, May 2, 2010, the Corps stated that it could maintain
discharges from Old Hickory at 100,000 cfs, which would have kept the waters in the Nashville
Reach from rising above the 100-year flood plain The Defendant was wrong.

140. A mere 21 minutes after the NWS released its official forecast of a river crest of
41.9 feet, the Corps again dramatically increased the discharges at Old Hickory Dam because of
the rapidly rising reservoir level nom the heavy Sunday morning rains. The Corps increased the
volume of water released at the Old Hickory Dam nom 83,000 cfs to 123,600 cfs by 1100 p.m.

141. Releasing such massive amounts of water in the Cumberland River through the
Old Hickory Dam between 10:00 a.m. and 1:00 p.m., created a surge of water that caused the
Cumberland River to rise quickly and far outpace the NWS forecast in fact, the NWS’
forecasted crest of 41.9 feet to occur at 7:00 p.m. on Sunday, May 2, 2010, was already exceeded

by 11:30 a.rn., less than two hours after the official forecast had been issued

28
Case 3:12-cv-01057 Document 1 Filed 10/15/12 Page 28 of 49 Page|D #: 28

142. The Corps Nashville District office failed to contact the NWS to inform the NWS
of the huge increases in discharges through the Old Hiclcory Dam, which would have allowed the
NWS to revise its forecasted river stage at Nashville and inform the public.

143. At 11:18 am. on Sunday, May 2, 2010, the NWS issued a revised forecasted river
crest at Nashville of 45.0 feet, or Major Flood Level, to occur at 7:00 p.m. that evening

144. By noon on Sunday, May 2, 2010, in breach of the Corps’ duty to preserve the
surcharge pool for the peak of the flood, the surcharge pool became full, even as the second
round of heavy rains continued to fall and the runoff nom those rains flowed into the Central
Basin of the Cumberland River.

145. During the extended and critical period of time on Sunday, May 2, 2010 from
9:50 a.m. to 8:05 p.m., the Corps Nashville District office lost its internet connectivity due to a
break in its internet cable. The Corps failed to have adequate emergency, redundant or back up
internet communications equipment, systems or plans in place. The Corps Nashville District
office lost the ability to connnunicate crucial data and information timely and effectively with
other Corps offices, the NWS, and others regarding rapidly increasing discharges from Old

lI-Iiclcory Dam.

146. Prior to the storm event, the Corps neglected to train personnel and provide
necessary authorizations to use the Corps computer software program for emergency operations,
called “ENGlink.”

l47. At 1;30 p.m. on Sunday, May 2, 2010, the Corps’ Ohio River Division facilitated
a telephone conference call between NWS Ohio River Forecast Center and the Corps Nashville
District office. The Corps Nashville District office advised the NWS that the discharges at Old

Hickory would be increased to 130,000 cfs, and possibly up to 140,000 cfs by 2100 p.m.

29 '
Case 3:12-cv-01057 Document 1 Filed 10/15/12 Page 29 of 49 Page|D #: 29

lnexplicably, the NWS and Corps made no place to increase the frequency of their
communications despite the Corps’ network outage and the escalating flood emergency

148. Shortly after the 1:30 p.m. conference call, the Corps began even more aggressive
increases in the volume of water discharged from Old Hickory Dam, as often as every 15
rnjnutes. Again, the Corps failed to notify the NWS about these significant increases

149. By noon on Sunday, May 2, 2010, the Corps had allowed Old I-lickory Reservoir
to rise to the top of the surcharge pool, robbing the reservoir of any remaining storage capacity
well before the peak of the flood and necessitating much larger releases than otherwise would
have been necessary

150. Having failed on Saturday, May l, 2010, and before to create the storage capacity
necessitated by the forecast of more than 3 inches of rain, the Corps had no remaining storage
capacity at Old Hickory Reservoir and was left with no choice other than to increase the
discharges on Sunday, May 2, 2010 from 130,300 cfs at 2:00 p-m. to an unprecedented 212,260
cfs by 6:00 p.m. Despite the Corps’ conclusion only four hours earlier that the discharges at Old
I-Iickory Dam would not exceed 100,000 cfs, the Corps began releasing much larger volumes of
water for which there should have been storage capacity, thereby causing Plaintiffs’ damages

151. Notwithstanding the Corps’ dramatic and unprecedented increases in the volume
of water being dumped into the Nashville Reach of the Cumberland River, the Corps and NWS
both failed to provide updates on the Cumberland River stage forecast for Nashville until 3:37
p.m.

152. By 4:00 p.m. on Sunday, May 2, 2010, with the surge nom the greatly increased
volumes of water being dumped into the Nashville Reach by the Corps, the Cumberland River .

exceeded “Major Flood” stage level of 45 feet.

30
Case 3:12-cv-01057 Document 1 Filed 10/15/12 Page 30 of 49 Page|D #: 30

153. At 4:19 p.m. on Sunday, May 2, 2010, the NWS issued an updated forecasted
river crest at Nashville of 48 feet (approximately the 100~year flood level of 416 feet above sea
level) for Monday, May 3, 2010 at 1:00 a.m.

154. At 4:43 p.m. on Sunday, May 2, 2010, the NWS Weather Forecast Office at
Nashville phoned the Corps Nashville District office to ask about updated releases. The Corps
gave the NWS erroneous release data of 150,000 cfs, when the actual water release data at that
time exceeded 200,000 cfs. -

155. At 7:50 p.m. on Sunday, May 2, 2010, the NWS Weather Forecast Oflice at
Nashville again phoned the Corps Nashville District office, and the Corps again provided
incorrect discharge data that was based on outdated estimated releases, not actual releases, as of
that time.

156. The NWS Weather Forecast Oi`fice at Nashville, NWS Ohio River Forecast
Center, and forecasters received and used the incorrect discharge data provided by the Corps
until around ll:00 p.m. on Sunday, May 2, 2010.

157. As a result of the using erroneous and flawed data, the observed rises in the
Cumberland River at Nashville continued to far outpace the NWS‘ forecasted rises and
forecasted river crest of 48.0 feet

158. Because the Corps failed by Saturday, May l, 2010, to create and preserve storage
capacity, the Reservoir rose to the top of the lock walls by noon on Sunday, May 2, 2010 and
Old I-Iickory Dam was in danger of being overtopped. At that point, and to prevent overtopping
of the dam and extensive damages to the dam’s powerhouse, the Corps was forced to continually
and dramatically increase the discharges at Old I-lickory Dam until they reached a peak of

212,260 cfs at 6:00 p.m. on Sunday evening, May 2, 2010.

31
Case 3:12-cv-01057 Document 1 Filed 10/15/12 Page 31 of 49 Page|D #: 31

159. After the rains subsided, the Cumberland River at Nashville crested at 51.86 feet
on Monday, May 3, 2010, at approximately 6:00 p.m., inundating the lands all along the
Nashville Reach of the Cumberland River.

160. Even with a river crest of 51.86 feet (about 419.6 feet above sea_level) at
Nashville, the May 2010 storms were foreseeable and within Defendant’s “standard project
flood” design for the Cumberland River Basin system.

161. Defendant’s releases of massive volumes of waters through Old I-Iickory Dam
were necessitated by Defendant’s failure to implement on or before Saturday, May l, 2010
appropriate measures to prepare for the forecasted storm event. As a direct and proximate result
of Defendant’s negligent acts and omissions, the river stage of the Nashville Reach rose well
above the 100-year flood plain, causing extensive damages to Plaintiffs’ property.

l Defendant’s Breaches of Duties

Negligent Operations and Water Management of Old l-lickorv Dam and Reservoir

162. Having constructed Old Hickory Dam on the Cumberland River, Defendant has a
duty to proceed with due care in the management and operation of the Dam and Reservoir.

163. Based upon the predicted path and severity of the storm system leading up to the
May 2010 storm event, Defendant knew or should have known that significant amounts of
rainfall from the storm system would occur in the Central Basin watershed area, with unchecked
tributary flow into the Nashville Reach of the Cumberland River.

164. Defendant knew or should have known that the heavy rainfall in the Central Basin
would quickly flow downhill from the l-lighland ij to the bottom of the Central Basin and into
the Nashville Reach, the area of the Cumberland River with the densest population and highest

concentration of buildings and structures

32
Case 3:12-cv-01057 Document 1 Filed 10/15/12 Page 32 of 49 Page|D #:'32

165. Defendant knew or should have known that in order to protect the people and
property downstream from Old I-Iickory Dam, it needed to create and preserve storage capacity
in the Old Hickory Reservoir in advance of the peak of the flood.

166. Defendant knew or should havel known that if the storage capacity of the Old
Hickory Reservoir was utilized or filled too soon and prior to the peak of the flood, there would
not be sufficient storage capacity remaining when the peak water levels were reached

167. Defendant knew or should have known that the failure to create such storage
capacity in Old Hickory Reservoir, followed by sudden and excessive discharges h'om Old
Hickory Dam to prevent overtopping of the Dam, would cause the Nashville Reach of the
Cumberland River to rise above the.lOO-year flood plain endangering lives and inundating
Plaintiffs’ property, buildings and structures located above the lOO~year flood plain.

168. Plaintiffs relied upon Defendant to provide information regarding the flow of the
waters of the Cumberland River, including but not limited to, information regarding river stage
forecast

169. Defendant’s negligence in failing to control discharges at Old Hickory Dam to
maintain the river stage level of the Nashville Reach at or below the 100-year flood plain
foreseeably increased the potential for flood damages to Plaintiffs’ property.

170. Notwithstanding the Corps’ knowledge regarding the operation and management
of the Old I-lickory Dam and Reservoir, Defendant failed to use due care in the operation and
management of the Dam and Reservoir prior to and during the May 2010 storm event.

l7l. More particularly, Defendant breached its duty to use due care in the operation
and management of Old Hickory Dam and Reservoir by, among other things, committing the

following acts or omissions constituting negligence:

33
Case 3:12-cv-01057 Document 1 Filed 10/15/12 Page 33 of 49 Page|D #: 33

(a) continuing to operate Old Hickory Dam and Reservoir under Normal Regulation
in advance of and during the May 2010 storm event even despite increasing dire forecasts
of the massive storm event;

(b) failing to implement, adhere to and operate Old Hickory Dam and Reservoir
under Flood Regulation in advance of and during the mat 2010 storm event despite
increasing dire forecasts of the storm event;

(c) failing to preserve storage capacity and/or draw down and create and preserve
storage capacity in Old Hickory Reservoir in advance or the forecasted storm event;

(d) allowing too much head water to build up behind the Old Hickory Dam in
advance of the storm event;

(e) allowing the head water of Old Hickory Dam to rise to the top of the lock walls
prior to the'peak of the flood, leaving no option but to suddenly discharge huge volumes
of water into the Nashville Reach of the Cumberland River to prevent overtopping of Old
l~lickory Dam and prevent damage to the powerhouse;

(f) failing to implement or adhere to Corps regulations, water control plans, water
control manuals, and reservoir instructions for the operation of Old Hickory Dam and
Reservoir;

(g) failing to recognize and respond or react to the magnitude of the storm event in
advance of and during the storm event; l
(h) failing to provide required information and data to other agencies of Defendant
regarding Dam and Reservoir operations and management

(i) providing inaccurate data and information and failing to use and exchange proper

data and information, and using flawed data and information critical to Defendant’s

34

Case 3:12-cv-01057 Document 1 Filed 10/15/12 Page 34 of 49 Page|D #: 34

scientific and engineering duties regarding Dam and Reservoir operations and
management;_

(i) miscalculating, misapplying and misjudging objective scientific and engineering
principles in assessing the hydrological risks, analyzing hydrorneteorlogical variables,
determining the Reservoir storage capacity needed and when to create that capacity,
determining the inflows into the Reservoir, determining the timing and volume of water
that could be safely discharged through Old l-Iickory Dam;

(k) failing to contact the USGS and obtain and/or utilize real-time river gage data
during the storm event in operating and managing Old l-lickory Dam;

(l) failing to maintain critical intemet connectivity during the storm event and the
ability to communicate critical data and information with other offices and agencies in a
timely and effective manner regarding discharge releases at Old Hickory Dam;

(m) failing to have adequate, trained staff on duty during the May 2010 storm event;
(n) failing to have a water manager on duty during all critical periods during the
storm event;

(o) on information and belief, failing to implement or adhere to the Emergency
Action Plan for Old I-lickory bam; l

(p) on information and belief, failing to implement or have in place adequate
emergency operating policies and procedures, train personnel and provide necessary
authorizations to use computer software program for emergency operations;

(q) failing to maintain the spillway gates at Old l-lickory Dam in good repair and

operating condition;

35

Case 3:12-cv-01057 Document 1 Filed 10/15/12 Page 35 of 49 Page|D #: 35

(r) failing to operate Old Hickory Dam safely so as to not create a threat of loss of

life or inordinate property damage;

(s) failing to operate Old H_ickory Dam safely so as to not endanger lives and

property downstream nom the Dam;

(t) releasing massive volumes of water throughthe Dam and into the Nashville '

Reach of the Cumberland River in such a manner as to cause the river to surge and rise

rapidly above the 100-year flood plain and endangering lives and property downstream;

and

(u) releasing massive volumes of water in order to protect the Dam structure and

powerhouse in disregard of the safety of lives and property downstream

Negligent Fa_ilure to Warn

172. Defendant had a duty of reasonable care to disseminate information to warn
Plaintiffs and respond to Plaintiffs? inquiries and requests regarding (i) foreseeable river-stage
levels; (ii) projected river-stage levels;` (iii) official river-stage and flood stage levels during the
May 2010 storm event; and (iv) increases in the releases or volumes of water being discharged
through from its federal dam proj ects.

173. Defendant had a duty of reasonable care to utilize correct and accurate data and
information and apply proper scientific principles and engineering judgment in preparing and
disseminating river stage forecast information

174. Defendant failed to warn Plaintiffs and disseminate timely updates to its river
stage forecasts, projected river stage levels, and known and observed river stage levels as those
levels were reached during the May 2010 storm event, in breach of Defendant’ s duty of care.

175. Defendant had a duty to warn Plaintiffs of known and foreseeable danger.

36
Case 3:12-cv-01057 Document 1 Filed 10/15/12 Page 36 of 49 Page|D #: 36

176. Defendant failed to warn Plaintiffs of the danger Defendant had created by its
operation and management of Old Hickory Dam and Reservoir prior to and during the May 2010
storm event, in breach of its duty of care owed to Plaintiffs. Plaintiffs relied upon Defendant to
provide information regarding the flow of the waters of the Cumberland River, including but not
limited to, information regarding river stage forecasts.

177. The rapid and massive deluges of water discharged by the Corps at Old Hickory
Dam and dumped into the Nashville Reach of the Cumberland River created a man-made,
dangerous condition that inundated the Nashville Reach, causing excessive flooding above the
100-year flood plain level and causing devastating damages to Plaintiffs.

178. But for Defendant’s negligence and gross negligence in creating a man-made
dangerous condition in the Nashville Reach of the Cumberland River, the May 2010 storm event
would have been an endurable, natural event within the 100-year flood plain.

17 9. With adequate warning of these events, Plaintiff could have taken earlier action to
evacuate and move property to higher ground that was placed at risk by the Corps’ man-made
disaster.

180. As a direct and proximate result of the Corps’ negligent dumping of
unprecedented and massive amounts of water into the Nashville Reach of the mainstem of the
Cumberland River, causing a man-made, dangerous condition, Plaiutiffs were inundated with
water that rose well over the 100-year flood plain causing catastrophic injuries, losses and
damages.

Negligent Failure to Exchange Data and lnforrnation
181. Defendant’s agencies have a duty to exchange complete and accurate

meteorological and hydrological data and information

37

Case 3:12-cv-01057 Document 1 Filed 10/15/12 Page 37 of 49 Page|D #: 37

182. Notwithstanding the Corps’ and the NWS’ respective missions, duties,
undertakings and responsibilities to, among other things, coordinate, cooperate and communicate
in the collection , analyses and exchange of meteorological and hydrological data and
information, the Corps and the NWS carelessly neglected to do so prior to and during the May
2010 storm event.

183. The Corps failed to provide required daily reports, information and data upon
which the NWS relied to prepare official forecasts during the May 2010 storm event.

184. The Corps repeatedly neglected to notify or update the NWS of huge increases in
discharges through Old l-lickory Dam so as to allow NWS to revise its forecasted river stage at
Nashville.

185. The Corps failed to provide the NWS with timely, updated-discharge information
as that data changed for purposes of the NWS hydrologic forecast modeling The Corps and
NWS failed to increase the hequency of their communications

186. The Corps repeatedly provided incorrect and inaccurate information to the NWS,
including inaccurate and grossly understated project release data, knowing that the NWS relied
on that data and information to prepare official forecasts.

187. The Corps’ daily reports of release projects for Old Hickory Dam did not include
forecasted precipitation amounts

188. The NWS knowingly used outdated information received nom the Corps in
preparing its official forecasts.

189. The Corps failed to read and respond timely to an advanced message sent via

electronic mail hom the Corps Ohio River Division Water Managernent issuing a “Flood

38
Case 3:12-cv-01057 Document 1 Filed 10/15/12 Page 38 of 49 Page|D #: 38

Potential Update” regarding increases in the flood forecast, resulting in slowed internal
communications within the Corps chain of command regarding the severity of the storm event.

190. The Corps and the NWS failed to resolve the wide discrepancies in their projected
river stage levels and despite that discrepancy, the NWS used Corps forecast data and did not
publish it own, more extreme and ultimately more accurate forecast, and as a result, disseminated
inaccurate river stage level forecasts.

191. The Corps failed to increase the frequency of communications with the NWS
during the May 2010 storm event and failed to answer telephone calls from the NWS seeking
updated infonnation.

192. The Corps lost internet connectivity for many hours during an extended and
critical period of time on Sunday, May 2, 2010, and it failure to maintain critical lines of
communication during the May 2010 storm event disrupted'and interfered with the ability of the
Corps Nashville District office to timely exchange required and updated date and information

193. The Corps and the NWS failed to have a comprehensive understanding of each
other’s operational procedures, forecast processes, and critical data needs during the Map 2010
storm event. For exarnple, the NWS did not lcnow or understand that the Corps’ daily project
release proj ections, data used by the NWS in preparing official forecasts, was limited to observed
rainfall during the past 24-hour period, or “rain on the ground” and failed to include forecasted
precipitation amounts in the projected release data.

194. Defendant’s careless failure to exchange required data and information timely,'
maintain adequate communications and communications equipment, seriously disrupted and

impacted Defendant’s ability to timely and effectively communicate accurate data and

39
Case 3:12-cv-01057 Document 1 Filed 10/15/12 Page 39 of 49 Page|D #: 39

information critical to the evaluation and assessment of the hydrological conditions and water
management and causally contributed to Plajntiffs’ damages
Plaintift's’ Damages

195. Plaintif`fs’ property, 109 Menees Lane, Madison TN 37115, is located along the
Nashville Reach of the Cumberland River, downstream from Old Hickory Dam and upstream
nom downtown Nashville. The 20 acre property lies at and above the 100-year flood plain.

196. Plaintiffs’ began monitoring official reports from the NWS regarding the
Cumberland River’s status and projected river stages on Saturday, May 1, 2010. The May l,
2010 NWS official reports for the Nashville Reach of the Cumberland River never indicated that
projected river stage levels were to rise above the 100 year flood plain.

197. Plaintiffs’ continued to monitor official reports from the NWS through the day on
Sunday, May 2, 2010. On the morning of May 2, 2010, the projected river crest levels were at
approximately 398 feet, which is below the 100-year flood plain. Less than a few hours later at
11:00 a.rn. on Sunday May 2, 2010, the NWS forecasted river crest predictions had jump 15 feet
to a projection 413 feet By 3:00 p.m. on Sunday May 2, 2010 the river crest projection,
increased yet again to 418 feet. Unfortunately this 418 feet project was not issued to the public
or provided to PlaintiHs.

198. By mid-day on Sunday, May 2, 2010, and without accurate NWS forecasted river
stage levels, Plaintiffs worked frantically to secure and protect their real and personal property
from the rising Cumberland River.

199. By the afternoon of May 2, 2010, and still without accurate NWS forecasted river

stage levels, Plaintiffs prepared to evacuate their property. The waters continued to rise and by

40
Case 3:12-cv-01057 Document 1 Filed 10/15/12 Page 40 of 49 Page|D #: 40

Sunday night, May 2, 2010, the Cumberland River stage levels rose above 422 feet and Plaintiffs
were forced to evacuate their property.

200. By the time the Cumberland crested on Monday, May 3, 2010, Plaintiffs’ entire
20 acre property was submerged in water. The Cumberland River had not only breached the
100-year flood plain, it had exceeded into the 500-year flood plain. Ariel photographs of
Plaintiffs’ property following the May 2010 storm event at attached hereto as Collective Exhibit
C.

201. Plaintiffs’ were not able to regain access by land to their property until 5 days
later on May 7, 2010. At that point, Plaintiffs’ first discovered the extent and magnitude of the
damage to their property.

202. Plaintiffs’ property that had been underwater was covered with thick mud and silt.
The waters of the Cumberland had carried volumes of debris onto Plaintiffs’ property. The water
damage to Plaintist real and personal property was shattering. Many items of Plaintiffs’
personal property, including attachments of Plaintiffs’ horne were heavily damaged or destroyed
Such items include, but are not limited to: the heating and air units, electrical units and wiring,
building insulation, farm equipment, yard tractor, fencing, storage shed, stable, front porch, rear
patio, paved asphalt driveway, concrete parking area in front of garage, hot tub, inground pool,
pool heater and various equipment and pool house. Plaintiffs’ barn was also severely damaged
and would eventually have to be removed nom the property in its entirety. Plaintiffs’ estimated
damages for the damages to their personal property and home attachments are approximately
$5 1 ,000.00.

203. ln addition to the Plaintiffs’ personal property and home attachments, Plaintiffs’

real property endured such water damage that it now requires approximately 700 feet of

41
Case 3:12-cv-01057 Document 1 Filed 10/15/12 Page 41 of 49 Page|D #: 41

landscaping and rip rap for erosion control and drainage support to stabilize the river bank which
is estimated at $109,000.00. As a result of the devastating damages to Plaintiffs’ property after
the May 2010 storm event, the value of Plaintiffs’ property has decreased by $200,000.00.

204. Plaintiffs have made every effort to mitigate their damages following the May
2010 storm event

205 . As a direct and proximate result of Defendant’s negligence and/or gross
negligence, Plaintiffs suffered extensive damages of approximately 360,000.00 which include
the following: clean-up cost as well as remediation and construction cost, damages and losses of
personal property and equipment, barn demolition, damages to real property, rip rap bank
stabilization cost, loss of use and enjoyment of property and the diminution in value of real
property. Plaintiffs’ Real Property Appraisal Report, Rip Rap Bank Stabilization Estimate and
other pertinent repair receipts and/or estimates are hereto attached as Collective Exhibit D.

”C__M
Count l - Negligence

206. The allegations set forth hereinabove are realleged and incorporated herein by
reference.

207. At all relevant times, Defendant was responsible for the implementation7
execution, operation, management maintenance, procedures, supervision, control, application of
scientific and engineering principles, meteorological and hydrological analyses and assessments,
exchange of scientinc data and river stage forecasting for the Cumberland River projects

including the Old Hickory Dam and Reservoir, and dissemination of weather warnings and flood

warnings

42
Case 3:12-cv-01057 Document 1 Filed 10/15/12 Page 42 of 49 Page|D #: 42

208. Defendant owed a duty to Plaintiffs to adhere to, implement and follow the
applicable statutes regulations water control plans and manuals and reservoir instructions
governing the operations and management of the projects located on the Cumberland River.

209. Defendant owed a duty to Plaintiffs to exercise due care with respect to the
projects located on the Cumberland River and to refrain from negligent acts or omissions in
carrying out those responsibilities

210. Defendant owed a duty to Plaintiffs to exercise due care regarding meteorological
and hydrological conditions predictions and forecasting during the May 2010 storm event, and
all of the duties described in this complaint and to refrain from negligent acts or omissions in
carrying out those responsibilities

211. Defendant owed a duty to Plaintiffs to use due care in the exercise of its scientiiic
and engineering judgment and professional expertise relating to the meteorological and
hydrological conditions presented during the May 2010 storm event and to refrain from negligent
acts or omissions in carrying out those responsibilities

212. At all relevant times, Defendant knew or should have known that its failure to
exercise due care in the performance of its duties and, having undertaken those duties, its failure
to warn of life-threatening and dangerous conditions could foreseeably result in devastating harm
to Plaintiffs. Plaintif`fs relied upon Defendants to provide information regarding the flow of the
waters of the Cumberland River, including but not limited to, information regarding river stage
forecasts

213. Defendant’s conduct, acts and/or failure to act fell below the standard of care

owed to Plaintiffs, constituting breaches of those duties

43
Case 3:12-cv-01057 Document 1 Filed 10/15/12 Page 43 of 49 Page|D #: 43

214. Defendant lacked discretion in undertaking these challenged actions, and/or the
challenged actions are not grounded in public policy.

215. Plaintiffs suffered catastrophic injuries and losses to their real property and
personal property as a result of the negligent acts and omissions of Defendant

216. The risk of harm to Plaintiffs and the ensuing harm actually suffered by Plaintiffs
was reasonably foreseeable -

217. Each Plaintiff has complied with all conditions precedent to bringing this action.

218. Old Hickory Dam and Cheatham Dam, located on the Cumberland River and
operated by the Corps, were authorized, funded and built for power generation and navigation,
and not as flood control projects

219. Defendant’s negligent acts and omissions were such that the United States and its
agencies, if private persons would be liable to Plaintiffs in accordance with the laws of the State
of lTennessee where the negligent acts and omissions occurred

220. The injuries and damages suffered by Plaintiffs were caused in fact by
Defendant’s negligent acts and omissions

221. The injuries and damages suffered by Plaintiffs were proximately caused by
Defendant’s negligent acts and omissions

222. As a foreseeable, direct and proximate cause of Defendant’s negligence, Plaintiffs
suffered signiicant damages, including: loss of personal property; damage to real property;
diminution in value of real property and personal property; cost of repair; restoration and

renovation of real and personal property; cost of lawsuit; and attorneys’ fees

44
Case 3:12-cv-01057 Document 1 Filed 10/15/12 Page 44 of 49 Page|D #: 44

Count II - Gross Negligence

223. The allegations set forth hereinabove are realleged and incorporated herein by
reference

224. At all relevant times, Defendant was responsible for the implementation,
execution, operations management , maintenance, procedures, supervision, control, application of
scientinc and engineering principles, meteorological and hydrological analyses and assessments,
exchange of scientific data and river stage forecasting for the Cumberland River projects, and
dissemination of weather warnings and flood warnings

225. Defendant owed a duty to Plaintiffs to adhere to, implement and follow the
applicable statutes, regulations water control plans and manuals and reservoir instructions
governing the operations and management of the projects located on the Cumberland River.

226. Defendants owed a duty to Plaintiffs to exercise due_ care with respect to the
projects located on the Cumberland River and to refrain from negligent acts or omissions in
carrying out those responsibilities

227. Defendant owed a duty to Plaintiffs to exercise due care regarding meteorological
and hydrological conditions predictions and forecasting during the May 2010 storm event, and
all the duties described in this compliant and to refrain from negligent acts or omissions in
carrying out those responsibilities l

228. Defendant owed a duty to Plaintiffs to use due care in the exercise of its scientific
and engineering judgment and professional expertise relating to the meteorological and
hydrological conditions presented during the May 2010 storm event and to refrain from negligent

acts or omissions in carrying out those responsibilities

45
Case 3:12-cv-01057 Document 1 Filed 10/15/12 Page 45 of 49 Page|D #: 45

229. At all relevant times, Defendant knew or should have known that its failure to
exercise due care in the performance of its duties and, having undertaken those duties, its failure
to warn of life-threatening and dangerous conditions could foreseeably result in devastating harm
to Plaintiffs. Plaintiff relied upon Defendant to provide information regarding the flow of the
waters of the Cumberland River, including but not limited to, information regarding river stage
forecast

230. Defendant’s conduct, acts and/or failure to act fell below the duties of care owed
to Plaintiffs, constituting breaches of those duties

231. Defendant’s negligent acts or omissions were done with reckless disregard or
conscious indifference for the risks of harm to the rights and property of Plaintiffs and, therefore,
constitute gross negligence

232. Defendant lacked discretion in undertaking these challenged actions, and/or the
challenged actions are not grounded in public policy.

233. Plaintiffs suffered catastrophic injuries and losses to their real property and
personal property as a result of the grossly negligent acts and omissions of Defendant.

234. The risk of harm to Plaintiffs and the ensuing harm actually suffered by Plaintiffs
was reasonably foreseeable

235. Plaintiffs have complied with all conditions precedent to bringing this action.

236. Old Hickory Dam and Cheatham Dam, located on the Cumberland River and '
operated by the Corps were authorized, funded and built for power generation and navigation,

and not as flood control projects

46
Case 3:12-cv-01057 Document 1 Filed 10/15/12 Page 46 of 49 Page|D #: 46

237. Defendant’s grossly negligent acts and omissions were such that the United States
and its agencies if private persons would be liable to Plaintiffs in accordance with the laws of
the State of Tennessee where the negligent acts and omissions occurred

23 8. The injuries and damages suffered by Plaintiffs were caused in fact by
Defendant’s grossly negligent acts and omissions

239. The injuries and damages suffered by Plaintif`fs Were proximately caused by
Defendant’S grossly negligent acts and omissions

240. As foreseeable, direct and proximate causes of Defendant’s gross negligence,
Plaintiffs suffered significant damages including: loss of personal property; damage to real
property; diminution in value of real and personal property; costs of repair, restoration and
renovation of real and personal property; costs of this lawsuit and attorneys’ fees

Count HI - Trespass

241. The allegations set forth hereinabove are alleged and incorporated herein by h
reference.

242. The excessive waters accumulated and intentionally discharged through the gates
of Old Hickory Dam by the Defendant during the May 2010 storm event physically invaded
Plaintiffs’ property and land, constituting a trespass

243. This unauthorized intrusion was a substantial and unreasonable interference with
Plaintiffs’ exclusive possession of their properties

244. Defendant’s wrongful acts were such that the United States and its agencies if
private persons would be liable to Plaintiffs in accordance with the laws of the State of

' Tennessee where the trespass occurred

47
Case 3:12-cv-01057 Document 1 Filed 10/15/12 Page 47 of 49 Page|D #: 47

245. The trespass caused significant damage, depriving Plaintiff`s of the use of their
property and resulting in extensive property damage

246. As a foreseeable direct and proximate result of this trespass Plaintiffs suHered
significant damages including: loss of personal property; damage to real property; diminution in
value of real and personal property; costs of repair, restoration and renovation of real and
personal property; costs of this lawsuit and attorneys’ fees

Count IV - Private Nuisance

247. The allegations set forth hereinabove are alleged and incorporated herein by
reference.

248. The excessive waters accumulated and intentionally discharged through the gates
of Old Hickory Dam by the Defendant during the May 2010 storm event physically invaded
Plaintiffs’ property and land, creating and constituting a private nuisance

249. The discharged waters resulted in a substantial and unreasonable interference with
the use and enjoyment of Plaintiffs’ land and property. The waters inundated large portions of
Plaintiffs’ land and property and caused substantial physical and economic damage

250. The invasion of Plaintiffs’ interest in the private use and enjoyment of their land
and property was proximately caused by Defendant’s storage and intentional discharge of waters
through the Old Hickory Dam.

251. Defendant’s wrongful acts were such that the United States and its agencies if
private persons would be liable to Plaintiff in accordance with the laws of the State of Tennessee
where the nuisance occurred

252. As a foreseeable direct, and proximate result of this private nuisance, Plaintift`s

suffered significant damages including: loss of use and enjoyment of their property;

48
Case 3:12-cv-01057 Document 1 Filed 10/15/12 Page 48 of 49 Page|D #: 48

considerable cost in restoring their property to its condition prior to the inundation;

inconvenience damages costs of this lawsuit and attorneys’ fees

RELIEF REQUESTED
WHEREFORE, Plaintiffs respectfully request the entry of judgment against Defendant

and that the following relief be granted:

A. Awards of` all compensatory and economic damages sustained by Plaintiffs in
amounts to be determined at the trial of this cause;
B. Awards of interest as to each Plaintiff to the extent allowed by law;

C. Awards of attorneys’ fees and costs of litigation pursuant to the FTCA and/or

Equal Access to lustice Act;
D. Awards of discretionary costs and

E. Such other and further relief as the Court deems just and appropriate

Respectful ubrnitted,

By: j
Phjnip N’drdi, #24a7
PNorth@nij law.com
NORTHPURSELL & RAMOS, PLC
414 Union Street, Suite 1850
Nashville, TN 37219
615-255-2555
PNorth@,nnrattornevs.com
Attorneyfor Plnintijj€s'

49
Case 3:12-cv-01057 Document 1 Filed 10/15/12 Page 49 of 49 Page|D #: 49

